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            EXHIBIT A
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                              Atlas Air/IBT
                       System Board of Adjustment



                       In the Matter of the Arbitration

                                  Between

                   International Brotherhood of Teamsters
           Airline Division, and Teamsters Local Union No. 1224                OPINION
                                                                               OF THE
                                   - and -                                    CHAIRMAN

                               Atlas Air, Inc.

           (Management Grievance alleging Union’s violation of
                      CBA’s Section 1.F 2.b (iii)


                   The System Board of Adjustment
                        George Nicolau. Chairman
                       Daniel Katz, Union Member
                 Jennifer Chernichaw, Company Member

Appearances:
For the Company:
O'Melveny & Myers, LLP
  By: Robert Siegal, Esq.
      Rachel S. Janger, Esq.
      Charles J. Mahoney, Esq.
For the Union:
Edward Gleason, Esq.
Spivak Lipton, LLP
   By: Gillian Costello, Esq

         On January 19th, 2016, Atlas Air Worldwide Holdings, Inc. (AAWW), the parent
 Company of Atlas Air, Inc. (Atlas) and the majority shareholder of Polar Air Cargo
 Worldwide, Inc. (Polar), announced its agreement to acquire Southern Air Holdings, Inc.
 (SAHI), the parent company of Worldwide Air Logistics Group, which, in turn, owned
 two subsidiaries, Southern Air, Inc. (Southern) and Florida West International Airways
 (Florida West). It indicated that the agreement was subject to the approval of the DOT
 and would occur in a few months. Immediately prior to this press release, Atlas advised
 the International Brotherhood of Teamsters (IBT or Union), that represented pilots at
 Atlas, Polar, and Southern. In those phone calls, it advised the IBT, and subsequently the
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FAA and the NMB, that, following the closing, the carrier's operations and seniority lists
would be in agreement.

        Two days later, the Union issued a press release endorsing the merger (CX36).
Though it welcomed a merger of Atlas and Southern, the Union's press release indicated
that negotiations should proceed pursuant to Section 6 of the RLA. Atlas and the Union
had been reaching TAs for a new Atlas agreement prior to the acquisition, but once there
was an acquisition the Atlas Collective Bargaining Agreement (CBA) provided for a
process to integrate seniority lists and negotiate a Joint CBA, with interest arbitration if
unresolved issues remained after a 9-month negotiation period. Following the
announcement, the Company turned to that procedure, even footnoting post-acquisition
proposals for TAs that they were subject to the CBA's procedure. However, the Union
resisted, contending that the CBA did not require that it do so. To that end, on February
24th, 2016, it sent a Section 6 notice to Atlas and Southern (CX37)

        This led to an exchange of letters in which the positions had not changed and the
April 4th, 2016 filing of the Company's grievance at both Atlas and Southern.1 In this
proceeding, the Union took the position that the CBA's triggers had not occurred and that
there was therefore no requirement to move forward. In fact, the Union said, doing so
would violate the Scope clause. First, it contended that AAWW, the acquirer of Southern,
was not a party to the CBA and that, as a consequence, the acquisition trigger had not
occurred. Second, it contended that, a second trigger, a complete merger, was not
contemplated in that Polar would remain with its separate Single Operating Certificate
(SOC). The Company recognizes that AAWW, not Atlas, purchased Southern. However,
its view is that a portion of the CBA (1.F.2) is a proper path. It also argues that a
complete merger of Atlas and Southern will take place and is, in fact, underway. As to
the Union's claim that the grievance seeks to improperly give the System Board
jurisdiction over statutory issues, the Company contends that the CBA's procedures must
be given priority.
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 The Southern grievance led to a separate proceeding before Arbitrator Rich Bloch that was heard some
two weeks prior to the hearing in this case.




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       The Board held a hearing on October 24th, 25th, and 26th, 2018, at which both
Parties had full opportunity to offer evidence and argument and to present, examine and
cross-examine witnesses. The Company's witnesses were John Dietrich, President and
Chief Operating Officer (COO) of Atlas, Executive Vice President and COO of AAWW
and Executive Vice President and Chief Operating Officer of Polar; Jim Cato, who, prior
to his retirement, was Vice President of Labor Relations and Flight Operations of both
Atlas and Polar; and Jerrold Glass, President of F&H Solutions Group; the Union's
witnesses were First Officer Mark South, whose testimony in the Southern case was also
accepted in evidence (JX6), and Captain Daniel Wells, a longtime employee of Atlas and
Polar, who had held a number of pilot management positions at Polar and is now
President and Principal Officer of IBT Local No. 1224.

       During the hearing, counsel submitted a total of 174 exhibits and, on March 1st,
2019, filed 80+ page briefs, at which point the Record was closed.

The Issue

       The Parties could not agree on the issue and the Company's statement of the issue
and requested relief is as follows:
   1. Has the Union violated Section 1.F.2.b(iii) of the parties' collective bargaining
      agreement by refusing to engage in negotiations, and, if necessary, interest
      arbitration, for a joint collective bargaining agreement?
   2. Has the Union violated Section 1.F.2.a and/or the covenant of good faith and
      fair dealing by failing to present an integrated seniority list to the Company?

       The requested remedy is an order that the Union comply with the merger
provisions of Section 1.F.2.a and Section1.F.2.b(iii) of the parties' collective bargaining
agreement, including that the Union:
   (1) shall initiate the merger process by promptly preparing and presenting to the
       Company an integrated seniority list covering Southern and Atlas pilots; and
   (2) shall "begin negotiations to merge the two pre-integration collective
       bargaining agreements into one agreement," and if a merged agreement has
       not been executed within nine (9) months from the date that the Union
       presents to the Company a merged seniority list," the Union shall "submit
       the outstanding issues to binding interest arbitration."

       The Union's submission is:

   1. Has the procedure for negotiating a joint collective bargaining agreement pursuant
       to Section 1.F.2.b(iii) been triggered under the 2011 Atlas Polar CBA?
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The Language of the CBA
       The relevant provisions are:

SECTION 1: RECOGNITION, SCOPE, SUCCESSORSHIP AND LABOR
           PROTECTIVE PROVISIONS

   1. In accordance with the National Mediation Board’s certification in Case No.
      R- 7174, issued on December 22, 2008, Atlas Air, Inc. and Polar Air Cargo
      Worldwide, Inc. (a single Air Carrier collectively referred to as the
      “Company”) recognizes the International Brotherhood of Teamsters, Airline
      Division as the collective bargaining representative of the flight deck
      crewmembers employed by the Company.
   2. This Collective Bargaining Agreement and any formal Letters of
      Agreement between the Company and the Union may be collectively
      referred to as the “Agreement.”

B. Scope
   1. Except as may be provided otherwise in this Section or elsewhere in this
      Agreement or Letter of Agreement between the parties all present or future
      flying that is performed by the Company, including flying performed by a
      Related Entity (as defined below), and whether or not the crewmembers
      doing such flying are based outside the United States, shall be performed by
      Crewmembers on the Atlas Air, Inc. Pilot or flight Engineer seniority lists in
      accordance with the terms and conditions of this agreement or any other
      applicable agreement between the Company and the Union.

3. Definitions
   a. The term “Related Entity” shall mean any air carrier that is: (a) wholly or
      majority owned (i.e., fifty percent (50%) or more of the equity) by the
      Company and (b) that is effectively controlled by the Company.
   b. The term “flying” as used in this Section shall mean all revenue and non -
      revenue flying conducted on the Company’s or a Related Entity’s aircraft,
      including wet leases for other carriers or entities, or contracting for other
      carriers or entities (government, military or commercial), but shall not
      include flying of Company or a Related Entity’s aircraft conducted by other
      entities pursuant to a dry lease.
   c. A “dry lease” shall refer to a situation wherein the Company or Related
      Entity does not provide Crewmembers to fly the aircraft that it has leased to
      another entity.
   d. The term “effective control” shall mean that the Company or a Related
      Entity has the decisive right, privilege, or authority – by contract or
      otherwise – to direct, manage, or direct the management of all or a
      substantial portion of the air carrier joint venture or similar business
      arrangement.

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C. Affiliated Carriers
Should the Company elect to directly or indirectly sell, lease, or otherwise transfer
any aircraft in its control to any airline that is owned controlled, or operated by the
Company or Atlas Air World Wide Holdings, Inc. and such transfer would directly
cause a reduction in force of the Crewmembers covered by this Agreement, the
Company shall exercise reasonable efforts to obtain the agreement of the receiving
airline to allow the flying of such aircraft to be performed by Crewmembers on the
Atlas Air seniority list in accordance with the terms of this Agreement.

F. Labor Protections
   1. In the event the Company is acquired and thereafter the acquirer decides
      there will be a complete operational merger between (i) the Company and
      the acquirer, or the Company and another air carrier under the control of
      the acquirer, or (ii) if the acquirer notifies the Union of its intent to
      integrate the Crewmember seniority lists of the Company and the acquirer,
      or the Company and another air carrier under the control of the acquirer,
      the following shall apply:
       a. If the Union represents the Crewmembers of the successor then the
          Union’s Merger Policy shall be utilized to integrate the two seniority
          lists.
       c. The integrated list, including any restrictions or conditions attached
          thereto, shall not impose any retroactive monetary liability on the part
          of either pre-merger carrier, nor shall such integrated list require any
          upgrade or transition training of any crewmember from either carrier.
   2. In the event (i) the Company acquires another air carrier and the Company
      decides there will be a complete operational merger between the Company
      and such other air carrier, or if the Company notifies the Union of its intent
      to integrate the Crewmember seniority lists of the respective carriers, or (ii)
      in the event the Company decides there will be a complete operational
      merger between the Company and an affiliated air carrier, or if the
      Company notifies the Union of its intent to integrate the Crewmember
      seniority lists of the Company and an affiliated air carrier, the following
      shall apply:
       a. Seniority List Integration:
              i.   If the Union represents the Crewmembers of the carrier to be
                   merged with the Company then the Union’s Merger Policy shall
                   be utilized to integrate the two seniority lists.

       b. Collective Bargaining Agreements
            iii.   If the crewmembers of the acquired carrier are represented by
                    the Union, then the parties shall on a timely basis begin
                    negotiations to merge the two pre-integration collective
                    bargaining agreements into one agreement. If a merged
                    agreement has not been executed within nine (9) months from
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                   the date that the Union presents to the Company a merged
                   seniority list that complies with the provisions of this paragraph
                   F.2, the parties shall jointly submit the outstanding issues to
                   binding interest arbitration, The interest arbitration shall
                   commence within thirty (30) days from the conclusion of
                   negotiations contemplated by this paragraph, and a final
                   decision shall be issued within sixty (60) days after the
                   commencement of the arbitration.
   3. For the purposes of this paragraph F, “complete operational merger” shall
      mean the combination of all or substantially all of the assets of the two
      carriers.
   4. Notwithstanding anything in this paragraph F to the contrary, in the
      absence of a complete operational merger as determined by the Company,
      neither the Company nor any successor shall be under any obligation to
      integrate the two work forces, and either may operate both workforces
      independently pursuant to their respective pre-existing collective
      bargaining agreements (if any).

H. Expedited Adjustment Board Procedures
   1. Any grievance filed by the Company or Union alleging a violation of
      Section 1 shall bypass the initial steps of the grievance process and shall be
      submitted, heard, and resolved through binding arbitration on an expedited
      basis directly before the Atlas Crewmembers’ System Board of Adjustment
      sitting with a neutral arbitrator. The dispute shall be heard as soon as
      possible after submission to the System Board and decided no later than
      thirty (30) days after the close of the hearing, unless the parties agree
      otherwise in writing.
   2. The neutral arbitrator shall be selected by the parties by mutual agreement,
      or by an alternate strike method, if necessary, from a standing panel of
      seven (7) arbitrators, each of whom shall belong to the National Academy
      of Arbitrators and be experienced in disputes arising under the Air Carrier
      collective bargaining agreement The panel will be designated before this
      Agreement becomes effective.

The Background
       Since Polar was acquired in 2001, the Parties have not had a particularly good
relationship. It is not necessary to set down every detail of that relationship over the
years; the Parties know them well. Some key events and facts should be sufficient to
explain their present position.

       At the time of Polar's acquisition in 2001, the pilots at both Atlas and Polar were
represented by the Air Line Pilots Association (“ALPA”). This continued until the IBT
took over the representation in 2008. According to the Union's brief, the Company’s
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acquisition of Polar lead to a decade of turbulence and conflict between the two pilot
groups as the Company played one against the other.

       In mid-2004, Atlas and Polar entered bankruptcy, emerging some six months
later. Near the end of that year, AAWW decided that Atlas and Polar should merge,
notifying Federal authorities and advising the two pilot groups that the process of
integrating the seniority lists and negotiating a JCBA should begin. The Atlas pilots then
filed a Section 6 notice with the NMB; the Company objecting that the contractual
merging process had already begun. By mid-2005 the Atlas pilots had agreed. The Polar
pilots had not. Unlike the Atlas/ALPA CBA, the Polar/ALPA CBA was two years
beyond its amendable date, with the parties already in Section 6 negotiations for some 18
months.

       Though the Polar pilots continued in those negotiations, they shortly decided they
were going nowhere and asked to be released. After the NMB's release and a 30-day
cooling off period, they went on strike. The strike did not last long and in an agreement
on October 2nd, 2015, the Polar pilots agreed to participate in the contractual negotiating
process, and agreed to begin by participating in the integration of the Atlas and Polar
seniority lists, completion of which and turning over to the Company would initiate the
9- month negotiation period. The integration, that did not begin until March 2006, was
completed in November 2006 by an Arbitration Award of Arbitrator Robert Harris.

       While this was going on and the assets of the two carriers were continuing to be
merged, AAWW was exploring possible transactions that might lead the carriers to fly
under Separate Operating Certificates. In fact, in May 2006, it advised the FAA that it
intended to operate under two Certificates. Though it also advised that it would continue
to merge operations and train pilots pursuant to a protocol that would permit them to fly
in and operate aircraft owned by either Company operating under two separate
certificates, this is described by the Union as a “derailment” of the merger.

       Later, in 2007, AAWW sold to DHL 49% of Polar stock, with a 25% voting
interest. Following the DHL Transaction, Atlas and Polar proposed a Merger Protocol
Agreement. It was not signed by Alpha due to objections over the DHL Transaction and
objections from Polar pilots. In 2008, IBT replaced ALPA. In February 2009, Atlas,

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Polar the Union voluntarily entered into a stand-alone Negotiation Framework
Agreement for a Merged Collective Bargaining Agreement in order to obtain a mutually
desired joint collective bargaining agreement covering both the Atlas and Polar pilots.
This eventually led to an interest arbitration. And on September 3rd, 2011 (“the Kasher
Award”) was issued. Subsequent to the Award there have been periods of negotiations
under Section 6.

       Pursuant to Section 34 of the 2011 Atlas-Polar CBA, effective on September 8th,
2011, the contract would become amendable in September 2016, but subject to reopener
negotiations under RLA Section 6 “no more than two hundred and seventy (270) days
prior to” the amendable date. Representatives from the Union, Atlas, Polar and AAWW
thereafter met in Miami on December 11th, 2015. At a subsequent meeting on December
17th, 2015, the Union, Atlas and Polar scheduled negotiations for three days in January
2016, three days in February 2016, and three days in March, 2016. The bargaining parties
first met to negotiate on January 19th, 2016, and achieved three tentative agreements
during their January negotiations.

The Positions of the Parties

       The Union’s position is that at no time relevant to these proceedings has the
Union been required to engage in the contractual merger process that Atlas claims have
been triggered. The Union’s interpretation of the language of the 2011 Atlas-Polar CBA,
in its entirety, and specifically to the sections referenced by Atlas testimony, 1.F.2.A and
1.F.2.B. is not a trigger because the “Company” did not acquire Southern’s parent
company SAHI. Simply, the Union is not bound by these sections of the CBA because
the purchaser, AAWW, is not a party to the CBA.

       Further the Union maintains that all announcements and communications with the
Union since the announcement have come from AAWW , not the Company, and as such
also have not triggered any sections of the CBA. Starting from the acquisition
announcement, the intent to merge operations, and the request for an Integrated Seniority
List (ISL), the Union maintains that not a single communication concerning the ISL or
the intent to merge operation of Southern and Atlas has come from Atlas.

       The Union also maintains that Southern is not an affiliated air carrier, as Section

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1.C, in the Union’s interpretation, only allows for an affiliated carrier to be a minority
owned entity by the Company. This would not meet the criteria of Section 1.F.2.(ii).

       The Union also asserts that even if “Atlas”, rather than AAWW, had notified the
Union of its intent to merge the Atlas and Southern seniority lists, the 2011 Atlas-Polar
CBA does not give only one-half of the “Company”, in this case, Atlas, the right to act
without the consent of the other half, in this case, Polar. There is no evidence that Polar
has consented to or even participated in any of the decisions and actions that have been
made and are being taken to completely operationally merge Atlas (but not Polar) with
Southern. As a result, even if Atlas had indeed so notified the Union (and it did not),
notification by one but not both of the carriers that constitute the “Company” under the
2011 Atlas-Polar CBA is of no force and effect.

       Further, the Union maintains there has been no operational merger between the
Airlines and they further assert that Atlas abandoned Section 6 negotiations
inappropriately as the Union’s interpretation of 1.F.2.b.(iii) does not allow for a
triggering event. Simply, the Union maintains that, “Atlas’s single-minded pursuit of a
negotiations process culminating in an interest arbitration is a function of its fear of
facing its pilots and actually having to negotiate with the Union on the level playing field
that the RLA is designed to secure.” The Union requests that Atlas’s grievance be denied.

       The Company maintains that 1.F.2.b.(iii) Merger Procedures have been triggered.
They agree that the AAWW was the purchaser of SAHI. However, they do not agree that
Atlas must be the purchaser of Southern in order to trigger the Merger Process. They
maintain that the language in Section 1.F.2.(ii) allows for the Company to 1) decide it
will merge operations with an “affiliated air carrier,” or 2) has given notice of an intent to
integrate seniority lists of the Company and an “affiliated air carrier.” If either of these
events occur than the Company maintains the trigger in Section 1.F.2.b.(iii) are triggered.

       The Company maintains the language in Section 1.C of the CBA as it concerns
the term “affiliated air carrier” is clear, and means any airline owned or controlled by the
Company or AAWW. The Company asserts that plain and ordinary reading of the
meaning of “affiliated air carrier” is the test, and when the parties agreed to the Atlas-
IBT CBA in 2002, the word “affiliate” had a well-established meaning in corporate law:

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“a company effectively controlled by another or associated with others under common
ownership or control.” Lastly, the Company asserts the parties’ bargaining history
clearly shows the term “affiliated air carrier” was meant to cover a merger between the
Company and another carrier that was owned by the same corporate parent, and Section
1.F.2.(ii) was added after the Atlas pilots’ negotiating committee specifically asked for
language that would cover an integration of two carriers both owned by AAWW, such as
an integration of Atlas and Polar, which had recently been acquired by AAWW.

        The Company maintains they have repeatedly told the Union that the Company
decided there would be a complete operational merger with Southern and that the
Company intended to integrate the carriers’ crewmember seniority lists. On February 4th,
2016, and on March 15th it passed a Transition Agreement to the Union informing it,
“Atlas Air has decided there will be a complete operational merger,” and “and has
notified the Union of its intent to integrate the crewmember list of the two carriers.” (Tr.
193:16-18; Co. Ex. 18.)

        The Company asserts the evidence clearly shows that a complete operational
merger between the Company and Southern has been implemented. The Atlas CBA
states that “[f]or the purposes of this paragraph F, ‘complete operational merger’ shall
mean the combination of all or substantially all of the assets of the two carriers.” Here,
shortly after the Southern transaction closed on April 7th, 2016, ownership of all of
Southern’s operating physical assets were transferred from Southern to Atlas. (Tr.
293:24-294:14.) And, as of June 30th, 2018, Atlas, Polar and Southern had already
combined their total assets of $3,589.6 million, such that Atlas held $3,341.2 million,
while Polar held only
$134.8 million and Southern held only $113.6 million (Co. Ex. 59.) Real estate is
combined in that Atlas and Polar share common headquarters in Purchase, New York,
and share Southern’s headquarters in Cincinnati as their combined operational base.
Southern’s real estate assets have been transferred to Atlas, and many Atlas operations
have moved to Southern’s Cincinnati location. Employees have been combined – Atlas
employs all individuals providing support to Atlas, Polar and Southern, and Southern
only employs those individuals it is required to by Part 119 of the FAA regulations. (Tr.
289.)
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       The Company further states that Union’s argument that Polar must also have
notified the Union of its intent to merge is not valid. And it maintains that a separate
notification is not required by the CBA.

Discussion and Analysis

       While the Union has made a series of compelling arguments for denying the
grievance that the Company has brought forth, in the end the Union has not credibly
demonstrated that the Company, Atlas, did not make the request to merge the airlines.
The facts show that the Company did make it clear that a merger was planned. The
company also made it clear after the announcement of the merger that the provisions of
the JCBA now prevailed and Section 6 negotiation and any of its requirement were no
longer applicable.

       While the announcement of the merger was made on January 9th by AAWW, this
announcement does not tell the entire story. On February 4th, 2016, Atlas’ John Dietrich,
Bill Flynn, and Jeff Carlson met with the IBT’s leadership, Dave Bourne, Bob Kirchner,
Dan Wells, Bryan Holmberg, John Casey, and Nick Manicone in Washington, D.C. At
this meeting it was made clear that a merger was going to happen between Atlas and
Southern and it was to follow the terms of the CBA. Further, John Dietrich and Jeff
Carlson met on behalf of the Company not AAWW. This was followed by a letter dated
April 13th, 2016 from Mr. Flynn to Captain Wells on Atlas letterhead, Mr. Flynn wrote:
“now that the Southern acquisition is complete, we are proceeding to merge Southern
Air, Inc. into Atlas Air, Inc. This includes adhering to the merger provisions found in
Section 1 of the respective collective bargaining agreements of Atlas Air, Inc. and
Southern Air, Inc. This is consistent with what we have told you since the transaction
was announced in January.”

       Thus, while Captain Carlson stated in his declaration filed with the United States
District Court for the Southern District of New York that “AAW[W] has further
announced that it intends to merge the operations of Atlas and Southern Air,” as it did in
its January 19th, 2016 press release, that has no impact on whether the Company itself
also decided that there would be a complete operational merger between the Company
and an affiliate. The CEOs of Atlas, Polar and Southern, with guidance of AAWW, have
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the authority to determine whether to merge the carriers from a labor perspective.
AAWW’s decision to merge the operations of the two carriers did not preclude the
Company from also deciding, as it did in the labor context, that there would be a
complete operational merger between the Company and Southern.

       The other arguments, no matter how compelling, do not alter the fact the
Company, Atlas, complied with the provisions of the CBA. Therefore, this Board grants
the management grievance in its entirety. The Board orders the Union to comply with the
merger provisions of Section 1.F.2 of the CBA, including promptly submitting an ISL,
negotiating for a JCBA, and submitting unresolved bargaining issues to binding interest
arbitration if a JCBA has not been executed within nine (9) months.

       The Award defines “promptly” as 45 days, based on the Chairman’s experience in
these matters and the particular circumstances of this situation, including the size of the
pilot units and the time that has passed since the original announcement, the 45 day
period is both timely and sufficient to deliver the ISL to the Company. To conclude
Allegheny-Mohawk is not required in this case.




Dated: August 26th, 2019




                                                   _________________________________

                                                   George Nicolau, Chairman




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                           Atlas Air/IBT
                   System Board of Adjustment



                   In the Matter of the Arbitration

                              Between

                International Brotherhood of Teamsters
        Airline Division, and Teamsters Local Union No. 1224                AWARD

                               - and -

                           Atlas Air, Inc.

        (Management Grievance alleging Union’s violation of
                   CBA’s Section 1.F 2.b (iii)



        The Undersigned, acting as the System Board of Adjustment pursuant to the
Collective Bargaining Agreement and having duly heard the proofs and allegations of the
Parties, therefore render the following.

                                         AWARD

       For the reasons expressed in the foregoing Opinion, the Management
       grievance is granted in its entirety. The Union has forty-five (45) days to
       submit to the Company an Integrated Seniority List, at which point the
       provisions of the CBA section 1.F.2.b (iii) are to be followed.


Dated: August 26th, 2019                     ___________________________________
                                                   George Nicolau, Chairman




                  Daniel Katz                           Jennifer Chernichaw
                Union Member                             Company Member
            (I Concur) (I Dissent)                    (I Concur) (I Dissent)
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                            DISSENTING OPINION

       As I explained during the System Board’s executive session and in
subsequent correspondence confirming my views, Atlas failed to meet its burden
of proving the Union violated the parties’ collective bargaining agreement
(“CBA”). Moreover, as I further explained, the parties’ CBA contains no basis for
the Board’s Award purporting to impose a 45-day deadline on the Union to present
the Company an integrated seniority list (“ISL”). This deadline is impossible for
the Union to meet and would -- if valid, which it is not – deprive the Union and
those it represents of their rights under federal law.

      1. The Company Failed to Establish that the Union Violated the CBA

       Even if we assume for the sake of argument that Atlas established that the
contractual triggers of Section 1.F.2 were satisfied, the Company failed to carry its
burden of proving that the Union did not meet its obligation under subsection b.iii
of that provision to “on a timely basis begin negotiations to merge the two pre-
integration collective bargaining agreements into one agreement.” I submit that the
phrase “on a timely basis” cannot and does not mean instantaneously.

        The acquisition of Southern Air’s holding company by the holding company
that owned Atlas closed on April 7, 2016. Atlas wrote to the Union the next day,
on April 8, asserting that “the contractual language requiring timely JCBA
negotiations unequivocally has been triggered.” The Chairman’s Opinion
recognized that at this point Section 6 negotiations had already begun, with an
organizational meeting on December 11, 2015, followed by three days of
negotiations in January, three days in February, and three days in March. The
parties by then had already reached and signed a number of tentative agreements.
When the Union requested the mediatory assistance of the National Mediation
Board pursuant to Section 5 of the Railway Labor Act on April 13, the Company
filed its present grievance the next day, April 14. The Company erroneously
claimed that Section 6 negotiations ended the moment the acquisition closed.

       The Chairman incorrectly accepted the Company’s contention that the
normal manner of revising a CBA automatically terminates merely because the
holding company of an airline buys a holding company of another carrier. The
statutory mandate for collective bargaining cannot be so easily abandoned. Just
because a management official says he plans someday to merge the operations of
two commonly owned carriers does not make it so. Nor does it justify jettisoning
the right of airline employees to pursue amendments to their CBA through the
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Section 6 process. If such “pivoting” were truly required, a sizeable airline like this
one could forestall Section 6 bargaining indefinitely, as Atlas has here, by
repeatedly purchasing a small carrier as the time for bargaining approached or as
the bargaining progressed.

       Indeed, if the pay rates from the Company’s requested interest arbitration
turn out ultimately to be unsatisfactory in management’s view, what would stop
Atlas from changing its mind and dropping its plan to merge Atlas and Southern,
even at that late date? After all, Southern is still a separate carrier, with its own
fleet of aircraft, FAA operating certificate, DOT certificate of public convenience
and necessity, international route rights, airport landing and takeoff slots and other
economic authorities. No complete operational merger has occurred. So is Polar a
separate carrier, even now, despite the earlier claims of management that led to the
interest arbitration process that determined the terms of the current CBA. If
Southern and Polar were both spun off, with pilots, only the remaining Atlas pilots
would be covered by the CBA that was produced by two interest arbitrations,
based on management’s later-reversed assertions that mergers were to happen.
Inconceivably, they would be working under a CBA that had been twice amended
through interest arbitration, on the strength of mergers that never occurred, instead
of through the RLA Section 6 process that was already under way.

      When Atlas filed its grievance in the case at bar, it demanded that the Union
immediately “pivot” from the statutory bargaining process. The closing of the
corporate acquisition and the bald assertion of an intention to merge operations
were an insufficient basis to say that it was “timely” for the Union blindly to accept
the Company’s request to abandon its RLA right to Section 6 bargaining.

       For, in April 2016, it would have been “timely” to complete the Section 6
process that had already begun, and then to consolidate that amended Atlas CBA
with Southern’s through the procedure outlined in CBA Section 1.F.2.b.iii. In these
circumstances, the Union reasonably took the position that the Company’s request
to “pivot” was premature, and it did not thereby breach its obligations under the
CBA. The management grievance should have been denied.

   2. The Award’s 45-Day Deadline Is Invalid Because It Deprives the Union
      and the Pilots of Their Rights under the McCaskill-Bond Amendment

      In any event, it was wrong for the Board to say that it is imposing a 45-day
deadline for the Union to present the Company an ISL. The impossibility of
complying with this deadline improperly places the Union in the untenable position
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of eventually being held in contempt of court if Atlas were to succeed in enforcing
this aspect of the Award in court. This aspect of the Award also purports to deprive
the Union and those it represents of their rights under the McCaskill-Bond
Amendment, 49 U.S.C. § 42112, which guarantees them the right to negotiate and
arbitrate for a “fair and equitable” ISL, as stipulated in Sections 3 and 13 of the
Allegheny-Mohawk labor protective provisions. The Award is thus invalid.

       As an initial matter, it is a well-established premise of labor relations
arbitration in the United States that the function of an arbitrator is to interpret the
parties’ CBA, a private contract, and not to attempt to interpret statutory law. The
Chairman mistakenly attempted to do so here. As one noted commentator
explained, arbitrators have no special claim to expertise in discerning the meaning
of statutes, as opposed to labor contracts, and they should therefore respect “the
agreement that is the source of their authority” and leave to judicial or other
official tribunals “issues that go beyond not only the submission agreement but
also arbitral competence.” Meltzer, Ruminations about Ideology, Law, and Labor
Arbitration, in “The Arbitrator, the NLRB, and the Courts, Proceedings of the 20th
Annual Meeting of the NAA” 1, 16-17 (Jones ed., BNA Books 1967). See
Sprint/Central Tel. Co.-Nev., 114 LA 633, 640 (Baroni, 2000) (arbitrator refused to
accept jurisdiction over dispute as to whether contractors were employees of the
company because that issue required application of Internal Revenue Service
guidelines, which were beyond the “four corners” of the labor contract and
therefore beyond the scope of the arbitrator’s authority). In the present case, the
Chairman acted beyond the scope of the submission by seeking to interpret and
apply the McCaskill-Bond statute and the Allegheny-Mohawk labor protection
provisions incorporated by reference therein.

       McCaskill-Bond provides that in airline consolidations Allegheny-Mohawk
Section 3 and 13 “shall apply to the integration of covered employees.” The Atlas
pilots are without doubt “covered employees.”

       The law has two exceptions, neither of which applies here. It was through
these exceptions that the Chairman misinterpreted the statute and overstepped his
authority in determining: “To conclude Allegheny-Mohawk is not required in this
case.” Opinion at 12.

       First, under the Amendment, a “collective bargaining agent’s internal
policies regarding integration, if any, will not be affected by and will supersede the
requirements of this section.” The Chairman has apparently accepted the Company
Board Member’s incorrect assertion in our executive session that the Union has a

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merger policy that applies to this transaction. As I noted in the Board’s executive
session, and as Captain Daniel Wells testified at the hearing, Tr. 670, the
International Union’s merger policy does not apply because it was adopted after
the announcement of the Southern acquisition and operates prospectively only.

       This exception to the McCaskill-Bond Amendment for ISL disputes covered
by a labor organization’s merger policy is accordingly inapplicable, as I explained
in my letter to the Chairman confirming the discussions that occurred during the
executive session. If the Company had wished to rely on this exception to this
statute, it was management’s place to offer the merger policy into evidence, not the
Union’s. The Chairman should have disregarded the Company’s unsupported (and
erroneous) evidentiary contentions regarding this exception to the McCaskill-Bond
Amendment.

       Secondly, the Amendment provides that “the requirements of any collective
bargaining agreement that may be applicable to the terms of integration involving
covered employees of a covered air carrier shall not be affected by the
requirements of this section as to the employees covered by that agreement, so
long as those provisions allow for the protections afforded by sections 3 and 13 of
the Allegheny-Mohawk provisions.” Section 1.F.2 of the Atlas CBA may arguably
fall within the scope of the first clause of this exception, but a 45-day limit for the
ISL process clearly conflicts with the second clause, which guarantees the right to
negotiation and arbitration to produce a “fair and equitable” ISL.

       The Chairman thus erred in saying that Allegheny-Mohawk was “not
required in this case.” Under long-standing precepts of labor arbitration, it was not
within his purview to opine on the proper interpretation of the McCaskill-Bond
statute, and his interpretation was incorrect, in any event.

       Moreover, despite the Chairman’s assertion concerning his own experience
in ISL disputes, the complexities and intricacies of this process are well known to
the undersigned. As I have personally observed in dozens of airline pilot and flight
attendant ISL cases, in order to permit employees from both pre-merger groups to
have confidence that they have received fair treatment in the ISL process, whether
or not they like the resulting merged list, labor organizations in the airline industry
traditionally adhere to a rigid procedure. Seniority integration representatives from
both of the merging carriers are carefully selected. They collect and compile
employment data, including dates of hire, dates of birth, periods of furlough or
leave, seniority lists, positions held, and the like. These data are verified with the
employees themselves, and then certified as correct to the opposing group’s
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representatives, who, in turn, have an opportunity to check and correct any data
related to the other side’s population. Negotiations over the employment data
follow. Thereafter, negotiations, mediation and potentially arbitration are
commonly part of the process for reaching an ISL. One fact is certain: 45 days is
insufficient for the completion of this process.

        Atlas and the Chairman ignored the realities of airline pilot seniority when
they said that it should be a quick and simple matter to integrate the pilot seniority
lists of groups totaling only about two thousand when one list includes only two
hundred or so pilots. As the Chairman should have recalled from his 1999 decision
integrating 162 US Airways Shuttle pilots into the US Airways seniority list
comprising 5,311 pilots, which involved years of internecine disputation, these
cases can be very complicated. The point is further exemplified by the 1989
decision of Arbitrator Richard I. Bloch integrating the 96 pilots on the Jet America
seniority list with approximately five times that number on the Alaska Airlines list,
in which years of court litigation and multiple trips to arbitration were needed to
settle the ISL issues between the two pilot groups.

       The testimony of Captain Wells, cited by the Company’s Board Member,
supports rather than undermines the foregoing observations. He noted that “even
though I am president of the local, I cannot dictate or by fiat say this is the
[integrated] seniority list.” Tr. 645-46. He was saying, as management clearly
understood, that “a way forward” that included “clarity as to what’s going to
happen in the future,” Tr. 667-68, would allow him to encourage the two groups to
reach an agreement on combining the lists. Tr. 710. Despite his comments to
Company officials in seeking to negotiate a transition agreement in early 2016,
management was then and still is fully aware of the obvious reality that producing
an integrated seniority list just isn’t quick and easy. Captain Wells could not make
it so by his comments to the Company and management knew that he was not in a
position to waive the statutory rights of his members to negotiate and arbitrate for a
“fair and equitable” ISL. The Chairman should have understood that point better
than almost anyone, but his decision failed to take that into account.

      For these reasons, I respectfully dissent.


                                       /s/ Daniel M. Katz

August 27, 2019                         Daniel M. Katz


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